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                                                                                                                                                                   E x hi bit C

    A O 4 4 0 ( R e v . 0 6/ 1 2) S u m m o ns i n a Ci vil A c ti o n

                                                           U N I T E D S T A T E S DI S T RI C T C O U R T
                                                                                           f or t h e




                                 / 4f u vl: C mit
                                            Pl ai ntiff( s)
                                                   V.
                                                                                                        Ci vil A cti o n N o.     ( p: 2 3- c v- J Oi J-: J Y-t £.- 6 £ &




                                                                           S U M M O N S I N A C M L A C TI O N



  To;:;::,';h 1 jf";;,'fav                                               / e, v e- .ft; t S 7k          V } k//'i,t        >1,j
       j c }/ 5 j c e { XC; y                                       5f
                                                                                      {; ov h + 1 : R c o k s
  ;j/rJt:,,k f o n 1 f <5 6                                      16 6 1
               A l a w s uit h a s b e e n fil e d a g ai nst y o u.
              Wit hi n 2 1 d a y s aft er s er vi c e of t his s u m m o ns o n y o u ( n ot c o u nti n g t h e d a y y o u r e c ei v e d it ) - or 6 0 d a y s if y o u
ar e t h e U nit e d St at es or a U nit e d St at es a g e n c y, or a n offi c er or e m pl o y' e e oft h e U nit e d St at es d e s cri b e d i n F e d. R. Ci v.
P. 1 2 ( a)( 2) or ( 3) - y o u m u st s er v e o n t h e pl ai ntiff a n a ns w er t o t h e att a c h e d c o m pl ai nt or a m oti o n u n d er R ul e 1 2 of
t h e F e d er al R ul e s of Ci vil Pr o c e d ur e. T h e a n s w er or m oti o n m ust b e s er v e d o ~ h] pl ai ntiff or pl ai ntiff' s att or n e y,
w h o s e n a m e a n d a d dr ess ar e:                   C O / R o b e,/ 1/f- C,-                         YI' } ~

                                                         J oi/             / J O c; I <      y <f
                                                        5'-/ ock. + o n          , / {f        cs' 7t' C 1
             If y o u f ail t o r e s p o n d, j u d g m e nt b y d ef a ult will b e e nt er e d a g ai n st y o u f or t h e r eli ef d e m a n d e d i n t h e c o m pl ai nt.
Y o u al s o m ust fil e y o ur a n s w er or m oti o n wit h t h e c o urt.


                                                                                                           CLER K OF C O URT


 D at e:    _ _ d _ _ o W o ~. 3
        )
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    I
            A O 4 4 0 ( R e v . 0 6/ 1 2) S u m m o n s i n a C i vil Ac ti o n (P a g e 2)

             Ci vil A cti o n N o.
(                                                                                                   P R O O F O F S E R VI C E
                                           ( T hi s s e cti o n s h o ul d n ot b e fil e d wit h t h e c o u rt u nl e s s r e q ui r e d b y F e d. R. Ci v. P. 4 (/))

                            T hi s s u m m o n s f or (n a m e of i n di vi d u al a n d title, ifa n y)
             w a s r e c ei v e d b y m e o n ( d ate)                 ro       MI N          -: U, 2, ~


                             0 I p er s o n all y s er v e d t h e s u m m o ns o n t h e i n di vi d u al at ( pl a c e)
                           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ o n ( d at e) _ _ _ _ _ _ _ _ ; or

                             0 I l eft t h e s u m m o n s at t h e i n di vi d u al' s r esi d e n c e or us u al pl a c e of a b o d e wit h ( n a m e)
                                                                                                , a p er so n of s uit a bl e a g e a n d di s cr eti o n w h o r e si d e s t h er e,
                            - - - -- - - - - - --, a-   -- -
                                                    n d m ail e d a                                             c o p y t o t h e i n di vi d u al' s l ast k n o w n a d dr ess; or
                              o n (d at e)
                                               - - - - -- -
                                                                                                                                                                                                       , w h o is
                              IJl. I s er v e d t h e s u       m m o ns o n ( n a m e of i n di vi d u al)
                               d e si g n at e d b y l a w t o a c c e pt s er vi c e of pr o c ess o n b e h alf of ( n a m e of o r g a niz ati o n)                           . 5 7 0 e.. J:r o N f::; D ~
                                                                                                              Tt,tt.'i. S A
                              ( I C. o .' f <.c, B £ 1l. T L ~/l F T) {fc,, 1:. ~                               (,,ttt J() M[ J J h o n ( d at e)   I O ,. v't Ai 2. 0 2.. 3                ; or
                             0 I r et ur n e d t h e s u m m o ns u n e x e c ut e d b e c a us e                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                                  ; or

                             0 Ot h er (s p e cif y):




                             M y f e es ar e $                                         f or tr a v el a n d $                              f or s er vi c es, f or a t ot al of $                  0. 0 0
                                                                                                                   - - - --



             D at ec / ~ :::' u n d oc p c n, Jt y of p c,j u, y t h at t his i nf orr n a~


                                                                                                                                                    S er v er's si g n at ur e
                                                                                                                                                          D ai n L. C ar m e n
                                                                                                                                                                O e p ut y 2 6 9
                                                                                                                                                P, dt: 1 1e d n a m e a n d title




                                                                                                                                   5 ~ Z L/ 1                     . S 7..            S' ? o c:./ cr o A(    l e5
                                                                                                                                                     S e r v e r' s a d dr ess

             A d diti o n al i nf or m ati
